Case 2:18-cv-00819-NRM-ST            Document 175         Filed 01/23/25      Page 1 of 11 PageID #:
                                             7563

                                          THE LAW OFFICES OF
                                SCOTT A. KORENBAUM
                                       14 Wall Street, Suite 1603
                                      New York, New York 10005
                                Tel: (212) 587-0018     Fax: (212) 587-0018


                                                        January 23, 2025


 VIA ECF

 Hon. Nina R. Morrison
 United States District Court
 Eastern District Court of New York
 Brooklyn, NY 11201

                Re:     Besedin v County of Nassau, et al.
                        18-cv-0819 (NRM) (ST)
                        Letter to Judge Morrison re Plaintiff’s
                        Motion for Costs and Fees

 Dear Judge Morrison:

         The Law Offices of Frederick K. Brewington and I represent Robert Besedin, Sr. Mr.
 Besedin’s motion for costs and reasonable attorneys’ fees is pending before the Court. We write
 to bring Judge Block’s recent decision in Rubin v HSBC Bank USA, NA, 20-CV-4566, 2025 U.S.
 Dist. LEXIS 10313 (E.D.N.Y. Jan. 21, 2025), to the Court’s attention. As discussed below,
 Rubin is relevant to the Court’s consideration of the hourly rates sought, and to the time
 expended, by his attorneys.

         In Rubin, Judge Block recognized that the hourly rates most frequently awarded by the
 judges in this district were archaic. Detailing their static nature, which were awarded regardless
 of the nature of the claims and which had not changed in well over a decade, Judge Block noted
 how “[t]imes have changed. ‘[A]ttorney’s fees, like other goods and services, increase in cost
 with inflation.’ . . . Retaining the same rates as far back as at least 2012 is no longer sustainable.
 Moreover, it runs counter to the admonition of the Supreme Court that the lodestar should be
 ‘current rather than historic hourly rates.’” Rubin, 2025 U.S. Dist. LEXIS, 10313, *14 (citations
 omitted). Turning to what the hourly rates should be, Judge Block determined that, after taking
 inflation into account, the forum rates in the Eastern District should “now be $450-$650 for
 partners, $300-$450 for senior associates, $150-$300 for junior associates, and $100-$150 for
 paralegals.” Id. at *!5 (footnote omitted).

          Relying primarily on this Court’s decision in Claud v. Brown Harris Stevens of The
 Hamptons, LLC, 18-cv-01390, 2024 U.S. Dist. LEXIS 12007 (E.D.N.Y. Jan. 23, 2024), Mr.
 Besedin demonstrated in his moving papers that Frederick K. Brewington, Esq. should be
 awarded fees at the hourly rate of $600, and that Scott A. Korenbaum, Esq. should be awarded
 fees at the hourly rate of $550, for the work they performed on his behalf. Claud and Rubin both
Case 2:18-cv-00819-NRM-ST             Document 175         Filed 01/23/25       Page 2 of 11 PageID #:
                                              7564

 Hon. Nina R. Morrison
 January 23, 2025
 Page 2

 recognize that the ossification of hourly rates in this district is a relic of the past. Given their
 experience and talents, the Court should award Mr. Besedin fees for the work performed by
 Messrs. Brewington and Korenbaum at the requested hourly rates.

         Rubin also bears on the work performed by the Brewington Law Firm. Defendants
 argued in their opposition papers that a number of attorneys were staffed on tasks they claim
 should have been performed by one attorney. Mr. Besedin addressed this argument, and other
 similar ones, in his reply papers. He notes that the defendants in Rubin advanced this same
 argument. Id. at *19 (“HSBC challenges the billing practices on several grounds: duplicative
 work performed by multiple attorneys reviewing the same documents and attending the same
 conferences, . . .”). Judge Block rejected this argument, noting that “the involvement of multiple
 attorneys reflects strategic collaboration rather than inefficiency[,]” id. at *20, which is the
 argument presented by Mr. Besedin. Like Judge Block in Rubin, this Court should also reject
 the defendants’ arguments.

                                                                 Respectfully submitted,
                                                         r~~J3~~
                                                             SC-DtrA. ~tt~~
                                                                 Frederick K. Brewington
                                                                 Scott A. Korenbaum

 SAK:sak
 Enclosure

 cc: All Counsel (via ECF)
   Case 2:18-cv-00819-NRM-ST                  Document 175          Filed 01/23/25        Page 3 of 11 PageID #:
                                                      7565

     Neutral
As of: January 23, 2025 4:40 PM Z


                 Rubin v. HSBC Bank USA, NA. Equifax Info. Servs. LLC
                            United States District Court for the Eastern District of New York
                                    January 21, 2025, Decided; January 21, 2025, Filed
                                                   Case No. 20-CV-4566

Reporter
2025 U.S. Dist. LEXIS 10313 *



DAVID RUBIN, Plaintiffs, -against- HSBC BANK USA,               MEMORANDUM AND ORDER
NA, EQUIFAX INFORMATION SERVICES LLC, AND
EXPERIAN INFORMATION SOLUTIONS, INC.,                           BLOCK, Senior District Judge:
Defendants.
                                                                Pursuant to the Fair Credit Reporting Act ("FCRA"),
                                                                Plaintiff David Rubin ("Rubin" or "Plaintiff") brought this
Prior History: Rubin v. HSBC Bank USA, NA, 717 F.
                                                                action against Defendants HSBC Bank USA, NA
Supp. 3d 266, 2024 U.S. Dist. LEXIS 27593 (E.D.N.Y.,
                                                                ("HSBC" or "Defendant"), Equifax Information Services
Feb. 16, 2024)
                                                                LLC ("Equifax"), and Experian Information Solutions,
                                                                Inc. ("Experian"). After Equifax and Experian reached
Core Terms                                                      settlements with Rubin and were dismissed from the
                                                                case, HSBC settled with Plaintiff for $250,000 plus costs
hourly rate, rates, cases, inflation, reasonable fee,
                                                                and attorneys' fees. Plaintiff filed this motion for
attorney's fees, paralegal, factors, costs, reasonable
                                                                attorneys' fees, costs, and expenses, seeking $728,998
hourly rate, law clerk, expenses, calf, associates,
                                                                in attorneys' fees, [*2] $5,565 in taxable costs, and
updated, courts, card, lodestar, senior associate, per
                                                                $15,450 in non-taxable expenses. For the following
hour, litigating, district court, taxable costs, non-taxable,
                                                                reasons, Plaintiff's motion is GRANTED to the extent
calculated, settlement, consumer, disputes, crooked,
                                                                that Plaintiff is awarded $550,506.50 in attorneys' fees,
spent
                                                                $5,565 in taxable costs, and $15,450 in non-taxable
                                                                expenses.
Counsel: [*1] For David Rubin, Plaintiff: Kevin
Christopher Mallon, Mallon Consumer Law Group,
PLLC, New York, NY; Robert S. Sola, PRO HAC VICE,
                                                                I. OVERVIEW
Robert S. Sola, P.C., Portland, OR; Adam Guttmann
Singer, Adam Singer, New York, NY.
                                                                The party seeking a fee award must establish both the
For HSBC Bank USA, NA, Defendant: Alisa M.                      reasonableness of the rates charged and the necessity
Taormina, PRO HAC VICE, Morgan, Lewis & Bockius                 for the hours spent. See Hensley v. Eckerhart, 461 U.S.
LLP, Morgan, Lewis & Bockius LLP, Miami, FL; Brian C.           424, 437, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983).
Frontino, Morgan, Lewis & Bockius LLP, Miami, FL;               Defendant challenges the reasonableness of the hourly
Carol Ann DiPrinzio, Winston & Strawn LLP, New York,            rates sought for four lawyers, one law clerk/associate
NY; Kingsley Nwamah, PRO HAC VICE, Morgan, Lewis                and a paralegal, as well as the reasonableness of the
& Bockius LLP, Miami, FL.                                       time they spent. The requested hourly rates are as
                                                                follows: For the four lawyers, $1,185, $795, $760, and
Judges: FREDERIC BLOCK, Senior United States                    $445; for the law clerk, $325 when a law clerk and $445
District Judge.                                                 as an associate; for the paralegal, $125.

Opinion by: FREDERIC BLOCK                                      Defendant asserts that Plaintiff "fails to offer any
                                                                satisfactory evidence to justify why the Court should
Opinion                                                         deviate from the recently articulated law of this District,
                                                                which provides that a reasonable hourly rate is '$300-

                                                     Scott Korenbaum
  Case 2:18-cv-00819-NRM-ST               Document 175          Filed 01/23/25         Page 4 of 11 PageID #:
                                                                                                          Page 2 of 9
                                                  7566
                                         2025 U.S. Dist. LEXIS 10313, *2

$450 per hour for partners, $200-$300 per hour for          account as delinquent to consumer reporting agencies
senior associates, $100-$200 per hour for junior            ("CRAs") and the former parties in this litigation,
associates, and $70-$100 per hour for paralegals.'" Dkt.    Experian and Equifax.
150 at 1 (citing Zaslavsky v. Weltman, Weinberg &
Reiss Co, LPA, 2022 WL 1003589, at *11 (E.D.N.Y. Jan        Rubin again disputed the subject account with the
5, 2022)).                                                  CRAs, which transmitted the disputes to HSBC. HSBC
                                                            once again denied Rubin's disputes and verified the
This decision will explain why those rates [*3] have no     charges to the CRAs. Rubin subsequently sued HSBC,
currency and what the new rates should be.                  alleging that it had violated the FCRA by failing to
                                                            conduct a proper investigation of his dispute in negligent
                                                            and/or willful violation of the FCRA. See 15 U.S.C. §
II. BACKGROUND                                              1681s-2(b)(1).

The following facts are taken from the pleadings, the       Ultimately, after failed [*5] settlement negotiations and
parties' Rule 56.1 statements, and the supporting           the Court's denial of Defendant's motion for summary
documentation. The facts are undisputed.                    judgment, the parties settled the litigation for $250,000
                                                            plus attorneys' fees and costs.
The dispute concerns alleged credit-card fraud. Around
October 9, 2019, Rubin applied for an HSBC Gold
MasterCard, which HSBC approved. HSBC shipped the
                                                            III. DISCUSSION
credit card to Rubin's home address, but Rubin
contends that he never received the card in the mail and
accordingly reported the theft to the New York Police       A. Attorneys' Fees
Department ("NYPD") and the United States Postal
Service ("USPS").                                           As the Second Circuit's decision in Arbor Hill reflects,
                                                            arriving at the right calculus for fixing attorneys' fees has
On October 17, 2019, a caller using Rubin's telephone       bedeviled courts for years. Arbor Hill Concerned
number activated the account by providing (1) the 16-       Citizens Neighborhood Ass'n v. Cnty. of Albany, 522
digit HSBC credit card number, (2) the 3-digit CVC          F.3d 182, 183-84 (2d Cir. 2008). The challenge entailed
number, and (3) the last four digits of Rubin's Social      harmonizing the traditional "lodestar" approach with the
Security account. Rubin suspects that a thief may have      so-called Johnson approach. As the Second Circuit
used a "spoofing" method to disguise the call as having     explained in Simmons:
come from his phone number. HSBC had no anti-
spoofing measures in place at the time. Two minutes             In Arbor Hill, we undertook to simplify the
later, HSBC received another call from Rubin's phone            complexities surrounding attorney's fees awards
number that lasted only 79 seconds.                             that had accumulated over time under the
                                                                traditional "lodestar" approach to attorney's fees
That same day, a $1,850.85 purchase using the card
                                                                (the product of the attorney's usual hourly rate and
was made at BJ's Wholesale, Inc. ("BJ's"). Rubin did not
                                                                the number of hours worked, which could then be
have a [*4] BJ's membership required to make the
                                                                adjusted by the court to set "the reasonable fee"),
purchase and was over a hundred miles away from
                                                                and the separate "Johnson" approach (a one-step
where the purchase was made. Minutes after the BJ's
                                                                inquiry that considered twelve specified factors to
purchase, the card was used to make another purchase
                                                                establish a reasonable fee). 493 F.3d at 114.
at Target. But HSBC flagged that attempted purchase
                                                                Relying on the substance of both approaches, we
as fraudulent and disabled the card.
                                                                set forth a standard that we termed the
At that point, HSBC sent Rubin a fraud alert. Rubin then        "presumptively reasonable fee." Id. at 118. We
contested the BJ's purchase as fraudulent. HSBC                 directed district courts, in calculating the
allegedly investigated the fraud dispute but had a policy       presumptively reasonable fee, "to bear in mind all
to deny disputes involving cards seemingly activated            of the case-specific [*6] variables that we and
from a consumer's telephone number unless the                   other courts have identified as relevant to the
consumer knew who had stolen and activated the card.            reasonableness of attorney's fees in setting a
Accordingly, HSBC denied the fraud dispute. When                reasonable hourly rate." Id. at 117 (emphasis in
Rubin failed to make the payment, HSBC reported the             original). The presumptively reasonable fee boils
   Case 2:18-cv-00819-NRM-ST                  Document 175           Filed 01/23/25       Page 5 of 11 PageID #:
                                                                                                            Page 3 of 9
                                                      7567
                                             2025 U.S. Dist. LEXIS 10313, *6

    down to "what a reasonable, paying client would be           starts, rather than evolving in a systematic, discernible
    willing to pay," given that such a party wishes to           fashion correlated to that nebulous "reasonable paying
    "spend the minimum necessary to litigate the case            client" standard. See. e.g., King v. JCS Enters., Inc.,
    effectively." Id. at 112, 118.                               325 F. Supp. 2d 162, 171 (E.D.N.Y. 2004) ("[T]he Court
                                                                 deems the following rates to have been prevailing in the
Simmons v. N.Y.C. Transit Auth., 575 F.3d 170, 174 (2d           Eastern District of New York in the early to mid-1990s:
Cir. 2009).1 The Circuit Court subsequently reinforced           $200 and up for partners (the higher end of the scale
this analysis in Lilly v. City of New York, 934 F.3d 222,        reserved for highly experienced partners in the relevant
227-30 (2d Cir. 2019).                                           field); $125-$155 for associates; and $65-$75 for law
                                                                 clerks."). Travelling further back in time, one finds
The presumptively reasonable fee is calculated by                correspondingly lower reasonable-rate determinations.
multiplying the reasonable hourly rate by the reasonable         See, e.g., Barr v. United Parcel Serv., 1987 WL 18779,
number of hours worked. See Arbor Hill, 522 F.3d at              at *3 (E.D.N.Y. Oct. 14, 1987) (finding reasonable rate
183; Lilly, 934 F.3d at 230. Determining the reasonable          for pre-1993 work to be $100 per hour).
hourly rate begins by applying the "forum rule," which
requires courts to "generally use 'the hourly rates              Adjustments and increases [*8] to those rates have
employed in the district in which the reviewing court sits'      tended to come in an ad hoc fashion based on
in calculating the presumptively reasonable fee." Arbor          indeterminate factors, including inflation. See, e.g.,
Hill, 522 F.3d at 192 (quoting In re Agent Orange Prod.          Orshan v. Macchiarola, 629 F. Supp. 1014, 1021
Liab. Litig., 818 F.2d 226, 232 (2d Cir. 1987)); see also        (E.D.N.Y. 1986) ("[T]he reasonable hourly rate
Simmons, 575 F.3d at 174.                                        [determined to now be $125 per hour] should reflect
                                                                 historic rates, with consideration given to inflation and
                                                                 the delay in the attorney's receipt of payment"); Priv.
1. Reasonable Hourly Rate                                        Sanitation Union Loc. 813, Int'l Bhd. of Teamsters v.
                                                                 Gaeta-Serra Assocs., Inc., 2005 WL 2436194, at *3
                                                                 (E.D.N.Y. Aug. 12, 2005), R & R adopted, 2005 WL
a. The Forum Rule                                                2429311 (E.D.N.Y. Sept. 30, 2005) (citing King and
                                                                 finding slightly higher rates reasonable after "adjusting
Throughout the years a body of caselaw has evolved in            for inflation").
the Eastern District establishing these forum rule rates.
As will be seen, infra, they have been the same for at           Moreover, with two exceptions, the courts have not
least the past thirteen years. How they were derived is a        prescinded between the nature or type of case.
mystery. There is no well-articulated rationale.                 Although "[s]ometimes legal markets may be defined by
Conceptually, the rates are supposed to reflect [*7]             practice area," Arbor Hill, 522 F.3d at 192, this
"what a reasonable, paying client would be willing to            apparently has never been the case in the Eastern
pay," given that such a party wishes to "spend the               District. Thus, as an example, although Zaslavsky was a
minimum necessary to litigate the case effectively."             Fair Debt Collection Practices Act ("FDCPA") case, the
Arbor Hill, 493 F.3d at 118. It is a lofty standard, but it is   same hourly rates have also been applied for partners in
fantastical. How is anyone able to calculate what that           FCRA cases, although they are a world apart. See Grice
mystical reasonable paying client was willing to pay?            v. Pepsi Beverages Co., 363 F. Supp. 3d 401, 411
                                                                 (S.D.N.Y. 2019); Rodriguez v. Pressler & Pressler, LLP,
Historically, the Eastern District courts have been              2009 WL 689056, at *1 (E.D.N.Y. Mar. 16, 2009);
making reasonability determinations for decades out of           Rudler v. Houslanger & Assocs., PLLC, 2020 WL
whole cloth. Predictably, the rates found to be                  473619, at *4 (E.D.N.Y. Jan. 29, 2020). The FDCPA
reasonable 30 or 40 years ago were lower than the                governs the conduct of third-party debt collectors, and
current ranges. They tended to climb upward in fits and          caps actual damages at $1,000. 15 U.S.C. §
                                                                 1692k(a)(2)(A). In contrast, the FCRA allows punitive
                                                                 damages, 15 U.S.C. § 1681n, for destroying one's
                                                                 credit, raising the stakes, and resulting in potentially
1 Arbor Hill Concerned Citizens Neighborhood Ass'n v. Cnty. of
                                                                 protracted litigation. Such, presumably, was this case,
Albany, 493 F.3d 110 (2d Cir. 2007) was amended and
                                                                 which explains how Plaintiff's initial loss of $1,850.85
superseded by Arbor Hill Concerned Citizens Neighborhood
                                                                 blossomed [*9] into the $250,000 settlement.
Ass'n v. Cnty. of Albany & Albany Cnty. Bd. of Elections, 522
F.3d 182 (2d Cir. 2008).
   Case 2:18-cv-00819-NRM-ST                       Document 175             Filed 01/23/25          Page 6 of 11 PageID #:
                                                                                                                        Page 4 of 9
                                                           7568
                                                  2025 U.S. Dist. LEXIS 10313, *9

There are other examples of the habit of the Eastern                   range is reserved for rare occasions. See Perdue v.
District courts to refrain from setting different rates for            Kenny A. ex rel. Winn, 559 U.S. 542, 553-54, 130 S. Ct.
different practice areas since the current rates were                  1662, 176 L. Ed. 2d 494 (2010) (finding that fee can be
fixed many years ago. See, e.g., Pall Corp. v. 3M                      more or less than the forum fee "in those rare
Purification Inc., 2012 WL 1979297, at *4 (E.D.N.Y.                    circumstances in which the lodestar does not
June. 1, 2012) (finding "reasonable hourly rates to be                 adequately take into account a factor that may properly
approximately $300-$450 for partners, $200-325 for                     be considered in determining a reasonable fee"). Those
senior associates, and $100-$200 for junior associates"                occasions would require "specific [*10] evidence that
for intellectual property cases;2 Sass v. MTA Bus Co., 6               the lodestar fee would not have been 'adequate to
F. Supp. 3d 238, 261 (E.D.N.Y. 2014) (same for Title VII               attract competent counsel.'" Id. at 554; see, e.g.,
cases); Torcivia v. Suffolk Cnty., 437 F. Supp. 3d 239,                Simmons, 575 F.3d at 175 (explaining that out-of-district
252 (E.D.N.Y. 2020) (same for § 1983 cases); Sung v.                   counsel can only be selected "because doing so would
Top Sys. Alarm Inc., 2024 WL 2312455, at *6 (E.D.N.Y.                  likely (not just possibly) produce a substantially better
May 22, 2024) (same for Fair Labor Standards Act                       net result").
("FLSA") cases); U.S. ex rel. Doe v. Acupath Lab'ys.
Inc., 2015 WL 1293019, at *6 (E.D.N.Y. Mar. 19, 2015)                  There are a handful of cases in the Eastern District
(same for qui tam cases); Lowery v. Fire Talk LLC, 2020                where courts have awarded hourly rates above the
WL 5441785, at *6 (E.D.N.Y. June 29, 2020), R & R                      forum rule range of $300 to $450 for partners. See
adopted, 2020 WL 542768 (E.D.N.Y. Sept. 10, 2020)                      Aptive Env't, LLC v. Vill. of E. Rockaway, 2022 WL
(same for copyright infringement cases); Cleanup v.                    5434178, at *4 (E.D.N.Y 2022) (citing EDNY cases
Brooklyn Transfer LLC, 373 F. Supp. 3d 398, 404                        awarding $600 hourly rates). But, in keeping with the
(E.D.N.Y, 2019) (same for environmental cleanup                        Supreme Court's caveat in Perdue, they are best viewed
cases); US Foods, Inc. v. Kokoro Partners, LLC, 2023                   as rare cases.
WL 3007171, at *1 (E.D.N.Y. Apr. 19, 2023) (same for
breach of contract cases); Kindle v. Dejana, 308 F.                    Notably, the Second Circuit in Lilly has cautioned, in
Supp. 3d 698, 704 (E.D.N.Y. 2018) (same for ERISA                      discussing Perdue, "that the novelty and complexity of a
cases). It has basically been a "one shoe fits all"                    case generally may not be used as a ground for an
dynamic.                                                               enhancement or reduction because those factors are
                                                                       already reflected in the reasonable hourly rate and
The courts, of course, have appropriately considered a                 reasonable hours billed (i.e., the lodestar)." Lilly, 934
host of variables, such as the Johnson factors,3 in fixing             F.3d at 232. It recognized, however, that the Johnson
the fee within the range. But awarding fees outside the                factors "may also, in exceptional cases, determin[e]
                                                                       whether an enhancement or cut to the lodestar is
                                                                       warranted." Id. at 233.
2 The court also fixed the hourly rate for paralegals at $75. But
                                                                       As for the two exceptions: first, courts grant a
the range was soon thereafter fixed at $70-$100. Janus v.              percentage-of-the-award fee in class action litigation
Regalis Const., Inc., 2012 WL 3878113, at *12 (E.D.N.Y. July
                                                                       pursuant to the factors set forth in Goldberger v.
23, 2012), R & R adopted, 2012 WL 3877963 (E.D.N.Y. Sept.
                                                                       Integrated Res., Inc., 209 F.3d 43, 47 (2d Cir. 2000).4
4, 2012).
                                                                       Second, higher hourly [*11] rates are the norm in social
3 These are: "(1) the time and labor required; (2) the novelty         security cases, but they are a unique carveout because
and difficulty of the questions; (3) the level of skill required to    Congress statutorily authorizes a reasonable fee of up
perform the legal service properly; (4) the preclusion of              to "25% of the total of the past due benefits to which the
employment by the attorney due to acceptance of the case; (5)          claimant is entitled." 42 U.S.C. § 406(b); see also Fields
the attorney's customary hourly rate; (6) whether the fee is           v. Kijakazi, 24 F.4th 845, 855-56 (2d Cir. 2022)
fixed or contingent; (7) the time limitations imposed by the           ("Lawyers who operate on contingency—even the very
client or the circumstances; (8) the amount involved in the
case and the results obtained; (9) the experience, reputation,
and ability of the attorneys; (10) the 'undesirability' of the case;
(11) the nature and length of the professional relationship with       4 These are: "(1) the time and labor expended by counsel; (2)

the client; and (12) awards in similar cases." Johnson v. Ga.          the magnitude and complexities of the litigation; (3) the risk of
Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974),                   the litigation; (4) the quality of representation; (5) the
abrogated on other grounds by Blanchard v. Bergeron, 489               requested fee in relation to the settlement; and (6) public
U.S. 87, 92-93, 109 S. Ct. 939, 103 L. Ed. 2d 67 (1989).               policy considerations." Goldberger, 209 F.3d at 50.
  Case 2:18-cv-00819-NRM-ST                  Document 175          Filed 01/23/25        Page 7 of 11 PageID #:
                                                                                                          Page 5 of 9
                                                     7569
                                           2025 U.S. Dist. LEXIS 10313, *11

best ones—lose a significant number of their cases and             By a lone dog that passed that way;
receive no compensation when they do."); Wells v.                  And then a wise bell-wether sheep
Sullivan, 907 F.2d 367, 371 (2d Cir. 1990) ("In the                Pursued the trail o'er vale and steep,
absence of a fixed-fee agreement, payment for an                   And drew the flock behind him, too,
attorney in a social security case is inevitably uncertain,        As good bell-wethers always do.
and any reasonable fee award must take account of that             And from that day, o'er hill and glade.
risk."); McDonald v. Kijakazi, 635 F. Supp. 3d 721, 725            Through those old woods a path was made.
(S.D. Iowa 2022) ("Because attorneys in these cases                III.
face significant risk of not being paid, courts allow hourly       And many men wound in and out,
rates of up to $1,000 an hour.").
                                                                    [*13] And dodged, and turned, and bent about,
***                                                                And uttered words of righteous wrath,
                                                                   Because 'twas such a crooked path;
There is yet another dynamic at play. As reflected in the          But still they followed—do not laugh—
compilation of the cases showing that the same rates               The first migrations of that calf,
have been applied regardless of the practice area,                 And through this winding wood-way stalked
supra, the Eastern District courts have been                       Because he wobbled when he walked.
regurgitating these rates for many years without                   IV.
updating them for inflation and market conditions. For             This forest path became a lane,
example, in Rodriguez, the court fixed the hourly rate for         That bent and turned and turned again;
partners in 2009 at $300-$450. 2009 WL 689056 at *1.               This crooked lane became a road,
But the first case which this Court's research located             Where many a poor horse with his load
fixing all the current hourly rates for partners,                  Toiled on beneath the burning sun,
associates, junior [*12] associates and paralegals was             And traveled some three miles in one.
in 2012 in Pall Corp., 2012 WL 1979297 at *4. Rates                And thus a century and a half
have also remained stagnant in virtually all other cases.          They trod the footsteps of that calf.
See, e.g., Sass, 6 F. Supp. 3d at 261 (same rates for              V.
Title VII case in 2014); Acupath Lab'ys. Inc., 2015 WL             The years passed on in swiftness fleet,
1293019 at *6 (same rates for qui tam case in 2015);               The road became a village street;
Kindle, 308 F. Supp. 3d at 704 (same rates for ERISA               And this, before men were aware,
case in 2018); Cleanup, 373 F. Supp. 3d at 404 (same               A city's crowded thoroughfare.
rates for environmental cleanup case in 2019); Torcivia,           And soon the central street was this
437 F. Supp. 3d at 252 (same rates for § 1983 case in              Of a renowned metropolis;
2020); Lowery, 2020 WL 5441785 at *6 (same rates for               And men two centuries and a half,
copyright infringement case in 2020); Kokoro Partners,             Trod in the footsteps of that calf.
2023 WL 3007171 at *1 (same rates for breach of                    VI.
contract case in 2023); Sung, 2024 WL 2312455 at *6                Each day a hundred thousand rout
(same rates for FLSA case in 2024).                                Followed the zigzag calf about
                                                                   And o'er his crooked journey went
They are classic examples of blind adherence to                    The traffic of a continent.
outdated precedent and a perfect example of the pitfalls           A Hundred thousand men were led,
in following the calf's path.                                      By one calf near three centuries dead.
     I.                                                            They followed still his crooked way,
     One day through the primeval wood                             And lost one hundred years a day;
     A calf walked home as good calves should;                     For thus such reverence is lent,
     But made a trail all bent askew,                              To well established precedent.
     A crooked trail as all calves do.
     Since then three hundred years have fled,                 Sam        Foss,     The       Calf-Path,       Poets.org,
     And I infer the calf is dead.                             https://poets.org/poem/calf-path (last visited [*14] Jan.
     II.                                                       17, 2025) (I-VI).
     But still he left behind his trail,
     And thereby hangs my moral tale.                          I always read this poem to my new law clerks and yet I
     The trail was taken up next day,                          must confess to recently following the calf's path myself.
    Case 2:18-cv-00819-NRM-ST                    Document 175             Filed 01/23/25         Page 8 of 11 PageID #:
                                                                                                                     Page 6 of 9
                                                         7570
                                               2025 U.S. Dist. LEXIS 10313, *14

See Kokoro Partners, 2023 WL 3007171 at *1                           power is the relevant consideration. $450 in 2012
(approving hourly rates in 2023 for up to $450 for                   represented a specific amount of purchasing power—
partners, $200 to $325 for senior associates, $100 to                the goods and services one could buy with that money.
$200 for junior associates, and $70 to $100 for                      To buy the same basket of goods in 2025, it cost $619.8
paralegals).                                                         Third, historical accuracy requires including all years.
                                                                     Opting to ignore certain years of inflation because they
Times have changed. "[A]ttorney's fees, like other                   seem abnormal would create an inaccurate picture of
goods and services, increase in cost with inflation."                how prices changed. High inflation years are as much a
Almond v. PJ Far Rockaway, Inc., 2018 WL 922184, at                  part of economic history as low inflation years; both
*2 (E.D.N.Y. Feb. 15, 2018). Retaining the same rates                must be included to properly track changes in
as far back as at least 2012 is no longer sustainable.               purchasing power.
Moreover, it runs counter to the admonition of the
Supreme Court that the lodestar should be "current                   Adjusted for inflation and market conditions,9 I have
rather than historic hourly rates." Gerlinger v. Gleason,            rounded out the forum rates in the Eastern District to
160 F.3d at 858, 882 (2d Cir. 1998) (quoting Missouri v.             now be $450-$650 for partners,10 $300-$450 [*16] for
Jenkins, 491 U.S. 274, 284, 109 S. Ct. 2463, 105 L. Ed.              senior associates, $150-$300 for junior associates, and
2d 229 (1989)); see also LeBlanc-Sternberg v. Fletcher,              $100-$150 for paralegals. Moreover, some stability is
143 F.3d 748, 764 (2d Cir. 1998) (instructing district               sensible in order to avoid having to establish new rates
court on remand in seven-year litigation to apply                    every year; accordingly, barring major inflationary
"current rates, rather than historical rates").                      deviations, I would not revisit them for five years.

But what should the new rates be? Adjusted for inflation,
the rates used in Pall Corp in 2012 would be the                     b. Application
following today:
                                                                     Having adjusted the forum rule ranges, the Court must
    Go to table1                                                     now determine the reasonable hourly rates for each
                                                                     attorney and the paralegal.
Inflation is the general increase in prices of goods and
services, which results in a decrease in the purchasing
value of money. The average inflation rate over the past             Robert Sola
thirteen years [*15] was 2.6% per year, with an
anomalous peak of 8% in 2022.6 Inflation rates have                  Sola, a partner, seeks an hourly rate of $1,185. To
since decreased to 4.1% in 2023 and 2.9% in 2024.7                   support the claimed hourly rate, he relies on his
Despite the high inflation rate of 2022, updating for                experience litigating FCRA cases since 1997, serving as
inflation to 2025 is logical for three reasons.

First, inflation is a cumulative measure. The rate of                8 See U.S. Bureau of Labor Statistics, supra note 5.

inflation in the single year of 2022 is just one data point
                                                                     9 See William Josten, What the "State of the US Legal Market"
in a thirteen-year period. What matters is the total
                                                                     report showed about law firm billing rate performance in 2023
change in purchasing power from 2012 to 2025, not the
                                                                     and where it may go in 2024, THOMSON REUTERS (Feb. 5,
change in any single year. Second, real purchasing
                                                                     2024),                     https://www.thomsonreuters.com/en-
                                                                     us/posts/legal/sotlm-2024-law-firm-billing-rate-performance/
                                                                     ("It's important to note that growth in law firm rates was not
6 See   Current US Inflation Rates: 2000-2025, US Inflation          pegged to inflation, but nevertheless, the result remained that
Calculator,                                                          law firms typically had a comfortable cushion above one of the
https://www.usinflationcalculator.com/inflation/current-inflation-   forces driving increases in their expenses. However, that
rates/ (last visited Jan. 20, 2025). Note that while both            cushion disappeared in 2022 as inflation spiked. For the first
footnotes 5 and 6 refer to inflation calculators, the website for    time, the relationship between average law firm worked rates
this footnote lists inflation rates for every year between 2000      and inflation actually inverted, giving law firms a basis upon
and 2025, while the calculator in footnote 5 calculates the          which to seek higher rate increases.")
amount that money is worth in a particular year.
                                                                     10 Thehighest end for partners is warranted since the old
7 Id.Of course, the inflation rate for 2025 has yet to be            $300-$450 rate dates back to at least 2009. See Rodriguez,
calculated.                                                          2009 WL 689056 at *1.
  Case 2:18-cv-00819-NRM-ST                  Document 175           Filed 01/23/25         Page 9 of 11 PageID #:
                                                                                                              Page 7 of 9
                                                     7571
                                           2025 U.S. Dist. LEXIS 10313, *16

lead trial counsel in several. Dkt. 146 at 4-7. He does        updated hourly rates in this District and all other
not have a standard hourly rate in New York City. Id. at       Johnson factors, the Court reduces Kraus' hourly rate to
3.                                                             $350.

FCRA cases tend to be more complex than simpler
consumer cases like FDCPA suits because of the                 Noah Kane
availability of punitive damages and the ensuing
increased stakes. This case involved expert witnesses,         Kane seeks an hourly rate of $325 as a law clerk and
numerous discovery disputes, eleven depositions, and a         $445 as presumably a junior associate. He joined
motion for summary judgment.                                   Singer's law office as a law clerk in September 2022
                                                               and became an associate when he was admitted to
While the Court recognizes Sola's qualifications, his          practice in New York in January 2023. Id. at 4.
requested $1,185 hourly rate [*17] exceeds the
updated new forum rate. But his skills and consummate          "Judges in [the EDNY] generally compensate law clerks
qualifications warrant a fee at the highest end of the         at the same rates as paralegal assistants." Burkett v.
hourly range. The Court therefore fixes his hourly rate at     Houslanger & Assocs., PLLC, 2020 WL 7000188, at *3
$650.                                                          (E.D.N.Y. July 23, 2020), R & R adopted as modified,
                                                               2020 WL 5834429 (E.D.N.Y. Sept. 30, 2020).
                                                               Considering the updated hourly rates in this District and
Kevin Mallon                                                   all other Johnson factors, the Court reduces Kane's
                                                               hourly rate as a junior associate to $275 and hourly rate
Mallon, a partner, seeks an hourly rate of $795. He has        as a law clerk to $125.
been litigating consumer cases for 24 years and
specializing in FCRA cases for 19 years. Dkt. 145 at 4-
5. He has spoken at multiple FCRA conferences. Id.             Thomas Guarino

The Court finds that the issues in this case do not            Guarino seeks an hourly rate of $125. He has been
warrant that hourly rate. Mallon has less experience           working as a paralegal for 7 years. Dkt. 140 at 6.
litigating FCRA cases than Sola. Considering the               Considering the updated hourly rates in this District and
updated hourly rates in this District and all other            all other Johnson factors, the Court now considers
Johnson factors, the Court reduces Mallon's hourly rate        Guarino's hourly rate of $125 to be reasonable.
to $620.


                                                               2. Reasonable Number of Hours
Adam Singer
                                                               The Court determines that collectively the attorneys and
Singer, a partner, seeks an hourly rate of $760. He has        the [*19] paralegal reasonably expended 1331.1 hours
been practicing law for 20 years and specializing in           of time, as evidenced by well-documented and detailed
FCRA cases for 13 years. Dkt. 135 at 1-3. He has
                                                               explanations of their work.11 See Dagostino, 238 F.
spoken at multiple FCRA conferences. Id. at 2-3.
                                                               Supp. 3d at 413 (holding fee applications should be
                                                               supported by contemporaneously created time records
While Singer and Mallon have similarly impressive
                                                               that specify, for each attorney, date, hours expended,
qualifications, Singer has been specializing in FCRA
                                                               and nature of the work done)
cases for six fewer years. Considering the updated
hourly rates in this District and all other Johnson factors,
the Court reduces Singer's hourly rate to $600.
                                                               11 The    Court did not expend judicial resources to
                                                               independently confirm that Plaintiff has correctly calculated
Richard Kraus                                                  each of the time charges given the prohibitively time-intensive
                                                               nature of such an undertaking. Courts "need not, and indeed
                                                               should not, become green-eyeshade accountants." Centro de
Kraus, presumably a senior associate, seeks an [*18]
                                                               la Comunidad Hispana de Locust Valley v. Town of Oyster
hourly rate of $445. Kraus has been practicing law since
                                                               Bay, 2019 WL 2870721, at *3 (E.D.N.Y. June 18, 2019)
2017 and litigating FCRA cases since 2021, when he             (citation omitted), R & R adopted, 2019 WL 2869150 (E.D.N.Y.
joined Singer's law office. Dkt. 140 at 1. Considering the     July 3, 2019).
  Case 2:18-cv-00819-NRM-ST               Document 175 Filed 01/23/25                  Page 10 of 11 PageID #:
                                                                                                        Page 8 of 9
                                                   7572
                                          2025 U.S. Dist. LEXIS 10313, *19

Defendant argues that the hours billed are excessive for     deposed Defendant's expert witness. See Fed. R. Civ.
a straightforward FCRA case. HSBC challenges the             P. 26(b)(4)(E) ("Unless manifest injustice would result,
billing practices on several grounds: duplicative work       the court must require that the party seeking discovery:
performed by multiple attorneys reviewing the same           (i) pay the expert a reasonable fee for time spent in
documents and attending the same conferences;                responding to discovery under Rule 26(b)(4)(A)[.]").
unnecessary time spent on fruitless third-party
subpoenas; improper billing of clerical tasks at attorney    Be that as it may, the FCRA's fee-shifting provision is
rates; and inflated hours spent on routine legal research    one-sided, enabling only the prevailing party to recover
and writing. Based on these alleged deficiencies,            costs. 15 U.S.C. § 1681o(a)(2). Defendant did not
Defendant seeks a 50% reduction in the claimed hours.        prevail. Thus, any costs awarded to Plaintiff will not be
                                                             decreased by the $3,440 that Defendant incurred.
The Court finds these arguments unpersuasive.
Defendant's characterization of this case as being           Having reviewed the Singer Reply Declaration, Dkt. 152,
straightforward is at odds with its own litigation conduct   the bill for costs, Dkt. 148, and the expenses, Dkt. 137,
and the exceptional result of a $250,000 settlement.         the Court deems reasonable these out-of-pocket
Defendant engaged in aggressive discovery resistance,        expenses and grants Plaintiff's request for taxable costs
filed numerous motions, and delayed production of key        and non-taxable expenses.
witnesses.

And despite arguing that these hours [*20] should be         IV. CONCLUSION
decreased by 50%, Defendant specifically identifies only
2% of the time billed as unnecessary. But Defendant's        The Court awards Plaintiff $550,506.50 in attorneys'
arguments about even those 18.3 hours miss the mark          fees, $5,565 in taxable costs, and $15,450 in non-
for three reasons. First, the involvement of multiple        taxable expenses, for a total of $571,521.50.
attorneys reflects strategic collaboration rather than
inefficiency. Second, Defendant's own aggressive             SO ORDERED.
litigation strategy necessitated many of these hours.
                                                             /s/ Frederic [*22] Bloc
Third, the hours were well-spent and necessary
considering the successful results obtained—including        FREDERIC BLOCK
the favorable settlement and denial of Defendant's
summary judgment motion. Thus, the Court deems               Senior United States District Judge
reasonable the hours claimed by counsel.
                                                             Brooklyn, New York
Therefore, the presumptively reasonable           fee   is
$550,506.50, calculated as follows:                          January                     21,                    2025


   Go to table2


B. Costs & Expenses

"An award of costs normally include[s] those reasonable
out-of-pocket expenses incurred by the attorney and
which are normally charged fee-paying clients." Fisher
v. SD Prot. Inc., 948 F.3d 593, 600 (2d Cir. 2020)
(internal quotation marks and citation omitted). "The fee
applicant must submit [*21] adequate documentation
supporting the requested attorneys' fees and costs." Id.

Plaintiff requests $5,565 in taxable costs and $15,450 in
non-taxable expenses. Defendant argues that $3,440
should be deducted from costs to be awarded to Plaintiff
because Defendant incurred these costs when Plaintiff
  Case 2:18-cv-00819-NRM-ST                    Document 175 Filed 01/23/25                      Page 11 of 11 PageID #:
                                                                                                                     Page 9 of 9
                                                        7573
                                               2025 U.S. Dist. LEXIS 10313, *22

Table1 (Return to related document text)
                                                                  2012           20255
                                      Partners                    $300-$450      $413-$619
                                      Senior Associates           $200-$300      $275-$413
                                      Junior Associates           $100-$200      $137-$275
                                      Paralegals                  $70-$100       $96-$137

Table1 (Return to related document text)


Table2 (Return to related document text)
                          Name                              Hourly Rate        Hours      Total
                          Robert Sola                       $650               27.10      $17,615
                          Kevin Mallon                      $620               206.70     $128,154
                          Adam Singer                       $600               295.4      $177,240
                          Richard Kraus                     $350               528.2      $184,870
                          Noah Kane (Associate)             $275               56.1       $15,427.50
                          Noah Kane (Law Clerk)             $125               4.4        $550
                          Thomas Guarino                    $125               213.2      $26,650
                          Total                                                1331.1     $550,506.50

Table2 (Return to related document text)


  End of Document




5 Adjusted    for inflation and rounded up. CPI Inflation Calculator, U.S. Bureau of Labor Statistics,
https://www.bls.gov/data/inflation_calculator.htm (last visited Jan. 20, 2025). The latest inflation data available as of the time of
this opinion is from December 2024. As a matter of common sense, the Court believes in all probability that it would essentially
be the same rate as of January 1, 2025.
